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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PATSY WIDAKUSWARA, et al.,
Plaintiffs,
Vv. Case No. 1:25-cv-1015-RCL

KARI LAKE, in her official capacity as
Senior Advisor to the Acting CEO of the U.S.
Agency for Global Media, et al.,

Defendants.

ORDER

For the reasons contained in the accompanying Memorandum Opinion, the plaintiffs’
Motion for a Preliminary Injunction [ECF No. 17]' is GRANTED as follows:

The Court will preliminarily enjoin the defendants, pending further order of this Court, to:
1) take all necessary steps to return USAGM emniayess and contractors to their status prior to the
March 14, 2025 Executive Order 14238, “Continuing the Reduction of the Federal Bureaucracy,”
including by restoring all USAGM employees and personal service contractors, who were placed
on leave or terminated, to their status prior to March 14, 2025; 2) restore the FY 2025 grants with
USAGM Networks Radio Free Asia and Middle East Broadcasting Networks such that
international USAGM outlets can “provide news which is consistently reliable and authoritative,
accurate, objective, and comprehensive,” 22 U.S.C. § 6202(a), (b), and to that end, provide
monthly status reports on the first day of each month apprising the Court of the status of the

defendants’ compliance with this Order, including documentation sufficient to show the

| The plaintiffs sought emergency relief by filing a motion (styled as a proposed order to show cause) for a preliminary
injunction. See Proposed Order to Show Cause with Emergency Relief, ECF No. 15; Mem. in Support of Proposed
Order to Show Cause, ECF No. 17.
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disbursement to RFA and MBN of the funds Congress appropriated; and 3) restore VOA
programming such that USAGM fulfills its statutory mandate that VOA “serve as a consistently
reliable and authoritative source of news,” 22 U.S.C § 6202(c). The Court DENIES the Motion
for a Preliminary Injunction, at this time, as it relates to RFE/RL and OTF, in light of their current

status.

IT IS SO ORDERED.

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Date: Uf -D2e-25- Royce C. Lamberth
Gi? Yip M United States District Judge

